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AO 24 (Rev. 0/) 25'(521027,21)256(17(1&(5('8&7,2181'(586& F  $



                                      UNITED STATES DISTRICT COURT
                                  FOR THE__________ DISTRICT OF __________
                                                                UTAH

          UNITED STATES OF AMERICA
                                                                        Case No. ____________________
                                                                                 2:20-cr-00073-DS

                                                                        ORDER ON MOTION FOR
          v.                                                            SENTENCE REDUCTION UNDER
                                                                        18 U.S.C. § 3582(c)(1)(A)
         SERGIO SOSA
                                                                        (COMPASSIONATE RELEASE)


                 Upon motion of տ the defendant տ the Director of the Bureau of Prisons for a reduction

        in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

        provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

        Commission,

        IT IS ORDERED that the motion is:

        տ GRANTED

                 տ The defendant’s previously imposed sentence of imprisonment of ________________
                                                                                  37 months

        is reduced to ____________________________. If this sentence is less than the amount of time

        the defendant already served, the sentence is reduced to a time served; or

                 տ Time served.

                 If the defendant’s sentence is reduced to time served:

                         տ        This order is stayed for up to fourteen days, for the verification of the

                                  defendant’s residence and/or establishment of a release plan, to make

                                  appropriate travel arrangements, and to ensure the defendant’s safe

                                  release. The defendant shall be released as soon as a residence is verified,

                                  a release plan is established, appropriate travel arrangements are made,
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                   and it is safe for the defendant to travel. There shall be no delay in

                   ensuring travel arrangements are made. If more than fourteen days are

                   needed to make appropriate travel arrangements and ensure the

                   defendant’s safe release, the parties shall immediately notify the court and

                   show cause why the stay should be extended; or

           տ       There being a verified residence and an appropriate release plan in place,

                   this order is stayed for up to fourteen days to make appropriate travel

                   arrangements and to ensure the defendant’s safe release. The defendant

                   shall be released as soon as appropriate travel arrangements are made and

                   it is safe for the defendant to travel. There shall be no delay in ensuring

                   travel arrangements are made. If more than fourteen days are needed to

                   make appropriate travel arrangements and ensure the defendant’s safe

                   release, then the parties shall immediately notify the court and show cause

                   why the stay should be extended.

    տ The defendant must provide the complete address where the defendant will reside

    upon release to the probation office in the district where they will be released because it

    was not included in the motion for sentence reduction.

    տ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term” of

    տ probation or տ supervised release of ___
                                           21 months (not to exceed the unserved portion

    of the original term of imprisonment).

           տ The defendant’s previously imposed conditions of supervised release apply to

           the “special term” of supervision; or




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               տ The conditions of the “special term” of supervision are as follows:




       տ The defendant’s previously imposed conditions of supervised release are unchanged.

       տ The defendant’s previously imposed conditions of supervised release are modified as

       follows:




տ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before _________________, along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.

տ DENIED after complete review of the motion on the merits.

       տ FACTORS CONSIDERED (Optional)




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տ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:

12/5/2023
                                                    UNITED STATES DISTRICT JUDGE




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